               Case 4:06-cr-40019-JPG                 Document 365 Filed 01/04/07                                  Page 1 of 6                   Page ID
*A0 245C (Rev. 06105) Amended Judgment in a Criminal Case
                                                                #948                                                     (NOTE. Identify Changes with Asterisks (*))
              Sheet I




                           SOUTHERN                                      District of                                      ILLINOIS

            UNITED STATES OF AMERICA                                              AMENDED JUDGMENT IN A CRIMINAL C A S E
                                v.
                        RYAN L. GARRISON                                          Case Numher: 4-06CR40019-004-JPG
                                                                                  USMNumher: 06830-025
Date of Original Judgment:       11/20/2006                                       Christopher Threlkeld
(Or Date of Last Amended Judgment)                                                Defendant's Attorney
Reason for Amendment:
[7 Correction of Sentence on Remand (18 U.S.C.
                                             3742(0(1) and (2))                   [7 Modtfication ofSupewision Conditions (18 U.S.C. $5 3563(c) or 3583(e))
    Reduction of Sentence for Changed Cireumsmces (Fed. R. Crlm.                        Modification of Imposed Term of Imprisonment for Extraordinary and
    P. 35(b))                                                                           Compelling Reasons (I8 U.S.C. 5 3582(cHI))
    Correction ofsentence by Sentencing Court(Fed. R. Crim. P. 35(a))                   Modification of Imposed Term of Imprisonment for Retroactive Amendment(s)
                                                                                        to the Sentencing Guidelines ( I 8 U.S.C. 5 3582(c)(2))
@correction of Sentence for Clerical Mistake (Fed. R. Crim P. 36)
                                                                                  [7 Direct Motion to Distrlct Court Pursuwt         28 U S C. 5 2255 or
                                                                                                I8 u s c 5 3559(~X7)
                                                                                        Modification of Restitution Order (I8 U.S.C. 8 3664)

THE DEFENDANT:
@ pleadedguiltyto count(s)                1 of the Superseding Indictment.                                  FfI F,,
     pleaded nolo contendere to count(s)
     which was accepted by the court.
     was found guilty on count(s)
     after a plea of not guilty
                                                                                                  CLERK r     .,
                                                                                                           JAN 0- 4 2On7
                                                                                                                    --",


l-he defendant i s adjudicated guilty of these offenses:
Title & Section                       Nature of Olfense                                                                011~nseEnded                          (:aunt
                                                                                                                                     ,,
                                                                                                                                          , ,
                                                                                                                                                . ,.   .".
                                      ... c
                                        to Distribute 500 Grams or More of a Mixture B Substance
k$l I;:$,
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                                 ..4 ia"        b6:apl!&iri'firoe                 .%:
                                                                                   'I     I.

                                                                                           #-          . .* I,I                                                  ,-   ,a:,
                                                                                                                                                                      i~;lm.
       The defendant is sentenced as provided in pages 2 through
the Sentencing Reform Act of 1984.
                                                                              -   -
                                                                                  &
                                                                                  /               of this judgment. l'he sentence is imposed pursuant to


     The defendant has been found not guilty on count(s)
     Count(s)                                                       is   are dismissed on the motion of the United States.
            I t i s ordered that the defendant must noti* the llnited States Anomey for this district within 30 da sofany change of name, residence,
or mailingaddress untilall fines, rcstitution,,costs, and special assessments imposed by this judgment are fuZy paid. Iforderedto pay restitution,
the defendant must notlfy the coun and Un~tcdStates attorney of mater131changes in economlc clrcumstanccs.




                                                                                  6611
                                                                                    Gilbert                                        District Judge
                                                                                  h      e of Judge                                Title of Judge
                                                                                   1/4/2007
                                                                                   Date
              Case 4:06-cr-40019-JPG                     Document 365 Filed 01/04/07                      Page 2 of 6        Page ID
                                                                   #949
A 0 2458                      -
              (Rev. 061051. Judgment in C"rnine.1 Case
              Sheet 2 -1mprisanmenl
                                                                                                          Judgment - Page   2of        10
 DEFENDANT: RYAN L. GARRISON
 CASE NUMBER: 4:06CR40019-04-JPG


                                                                 IMPRISONMENT

        The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of:

  120 months on Count 1 of the Superseding Indictment.




      I$ The court makes the following recommendations to the Bureau of Prisons:

  That the defendant be placed in the Intensive Drug Treatment Program.



           The defendant is remanded to the custody of the United States Marshal

      @ The defendant shall surrender to the United States Marshal for this district:
                at                                        a.m.         p.m.     on
           @ as notified by the United States Marshal.
           The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
                before 2 p.m. on
                as notified by the United States Marshal.
                as notified by the Probation or Pretrial Services Office.


                                                                      RETURN
 I have executed this judgment as follows:




           Defendant delivered on                                                            to

 at                                                      , with a certified copy of this judgment.



                                                                                                        UNITED STATES MARSHAL


                                                                              BY
                                                                                                     DEPUTY UNITED STATES MARSHAL
               Case 4:06-cr-40019-JPG                    Document 365 Filed 01/04/07                      Page 3 of 6         Page ID
                                                                   #950
A 0 248B      (Rev. 06/05) Judgment in a Criminal Case
              sheet 3 -Supervised Release


DEFENDANT: RYAN L. GARRISON
                                                                                                           Judment-Page
                                                                                                                           -
                                                                                                                           3        of          10

C A S E NUMBER: 4:06CR40019-04-JPG
                                                         SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term o f :

 8 years on Count 1 of the Superseding Indictment.



     The defendant must report to the probation office in the dishict to which the defendant is released within 72 hours of release from the
custody of the Bureau of Pnsons.
 The defendant shall not commit another federal, state or local crime
The defendant shall not unlawful1 possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall su%mit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as determtned by the court.
        The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
        future substance abuse. (Check, if applicable.)
        The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
 @ The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
        The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
        student, as directed by the probation officer. (Check, if applicable.)
        The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
     If this 'udgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
 Schedule o / ~ a ~ r n e nsheet
                           t s of thts judgment.
     The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                            STANDARD CONDITIONS OF SUPERVISION
           the defendant shall not leave the judicial district without the permission of the court or probation officer;
           the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
           each month;
           the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
           the defendant shall support his or her dependents and meet other family responsibilities;
           the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
           acceptable reasons;
           the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
           the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, djstribute, or admjnister any
           controlled substance or any paraphernalia related to any controlled substances, except as prescnbed by a phystctan;
           the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
   9) the defendant shall not associate with any persons en aged in criminal activity and shall not associate with any person convicted of a
      felony, unless granted permission to do so by the protation officer;
  lo) the defendant shall pcrmlt a probation officer to vtslt hlm or hrr at dn\ tlme at home or elseu here and shall perm11confiscatton of 3n)
           contraband observed In plaln view of the probdt~onofficer;
  11)      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
  12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
           permission of the court; and
  13)      as dlrrctcd by the robdtlon officer, the dcfendant shall notlf) th~rdpartles ofnsks that may bc oc;asloned by the defendant's cr~mlnal
           record or personar htsiory or charactenrt~csand shall permit the probation officer to make such nonficatlons and to confirm the
           defendant s compl~ancewtth such nottficat~onrequlremcnt.
           Case 4:06-cr-40019-JPG                     Document 365 Filed 01/04/07          Page 4 of 6        Page ID
                                                                #951
A 0 2458   (Rev. 06105) Judgment in a Criminal Case
           Sheet 3C - Supervised Release
                                                                                            Judgment-Page    4     of       10
DEFENDANT: RYAN L. GARRISON
CASE NUMBER: 4:06CR40019-04-JPG

                                         SPECIAL CONDITIONS OF SUPERVISION
 X The defendant shall submit his person, residence, real property, place of business, computer, or vehicle to a search,
 conducted by the United States Probation Officers at a reasonable time and in a reasonable manner, based upon
 reasonable suspicion of contraband or evidence of a violation of a condition of supervision. Failure to submit to a search
 may be grounds for revocation. The defendant shall inform any other residents that the premises may be subject to a
 search pursuant to this condition.

 X The defendant shall pay any financial penalty that is imposed by this judgment and that remains unpaid at the
 commencement of the term of Supe~iSedrelease. The defendant shall pay the fine in installments of $10.00 per month or
 ten percent of his net monthly income whichever is greater.

 X The defendant shall provide the probation officer and the Financial Litigation Unit of the United States Attorney's Office
 with access to any requested financial information. The defendant is advised that the probation office may share financial
 information with the Financial Litigation Unit.

 X The defendant shall apply all monies received from income tax refunds, lottery winnings, judgments, andlor any other
 anticipated or unexpected financial gains to the outstanding court-ordered financial obligation. he defendant shell
 immediately notify the probation officer of the receipt of any indicated monies.

 X The defendant shall participate as directed and approved by the probation officer in treatment for narcotic addiction, drug
 dependence, or alcohol dependence, which includes urinalysis or other drug detection measures and which may require
 residence andlor participation in a residential treatment facility. Any participation will require complete abstinence from all
 alcoholic beverages. The defendant shall pay for the costs associated with substance abuse counseling andlor testing
 based on a co-pay sliding fee scale approved by the United States Probation Office. Co-pay shall never exceed the total
 costs of counseling.

 X Defendant shall submit within 15 days, not to exceed 52 tests in a one year period for drug urinalysis.
                  Case 4:06-cr-40019-JPG                           Document 365 Filed 01/04/07                                 Page 5 of 6          Page ID
                                                                             #952
A 0 245B          (Rev. 06105) Judgment in a Cnrninal Case
                  Sheet 5 -Criminal Monetary Penalties
                                                                                                                             Judgment
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                                                                                                                                               F of                 4n
                                                                                                                                                                    IV
DEFENDANT: RYAN L. GARRISON
CASE NUMBER: 4:06CR40019-04-JPG
                                                      CRIMINAL MONETARY PENALTIES
         The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                               Assessment                                                   -
                                                                                            Fine                                      Restitution
 TOTALS                     $ 100.00                                                     $ 200.00                                   $ 0.00



 17 The determination ofrestitution is deferred until                                   . An Amended Judgment in a Criminal Case ( A 0 245C) will be entered
         after such determination.

         The defendant must make restitution (including community restitution) to the following payees in the amount listed below

         If the defendant makes a partial payment, each pa ee shall receive an approximately ro ortioned ayment, unless specified otherwise in
         the pnonty order or percentage payment columnielow. However, pursuant to 18 I.~s.E. 5 3664(?), all nonfederal victims must be paid
         before the United States is p a ~ d .

 Kame of Pavec                                                                               TotalLoss*                 Restitution Ordered Priority or P e r c e n t a s
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 TOTALS                                      $                                   0.00            $                           0.00


             Restitution amount ordered pursuant to plea agreement $

             The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
             fifteenth day after the date of the judgment, pursuant to 18 U.S.C. 5 3612(f). All of the payment options on Sheet 6 may be subject
             to penalties for delinquency and default, pursuant to 18 U.S.C. 5 3612(g).

             The court determined that the defendant does not have the ability to pay interest and it is ordered that:
             @f the interest requirement is waived for the                  @ fine          [7 restitution.
                  the interest requirement for the                 fine                 restitution is modified as follows:


* Findings for the total amount of losses are re uired under Chapters 109A, 110,11OA, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before Apnl23, 199%.
           Case 4:06-cr-40019-JPG                     Document 365 Filed 01/04/07                    Page 6 of 6          Page ID
A 0 2458   (Rev. 06105) Judgment in a Criminal Case
                                                                #953
           Sheet 6 -Schedule of Payments
                                                                                                       Judgment - Page     6     of          10
DEFENDANT: RYAN L. GARRISON
CASE NUMBER: 4:06CR40019-04-JPG

                                                      SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:
A     @ Lump sum payment of $                               due immediately, balance due

                 not later than                                 , Or
                 in accordance                C,       D,         E, or        F below; or
B          Payment to begin immediately (may be combined with             C,          D, or        F below); or

C          Payment in equal                    (e.g., weekly, monthly, quarterly) installments of $                       over a period of
                        (e.g., months or years), to commence                 (e.g., 30 or 60 days) after the date of this judgment; or
D     IJ Payment in equal                       (e.g., weekly, monthly, quarterly) installments of $                     over a period of
                         (e.g., months or years), to commence                 (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or
E     IJ Payment during the term of supervisedrelease will commence within                    (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or
F     I$   Special instructions regarding the payment of criminal monetary penalties:
            While on supervised release, the defendant shall make monthly payments in the amount of $10.00 or ten percent
            of his net monthly income, whichever is greater.



Lnless thecourt haschpressl orderedothenvlse, ~fthlsjudnient imposesimpr~sonment, d men1 ofcnm~nalmonctaly pcnaltles isduedunn
Imprisonment.   1\11 cnmlnaYmonctl      penalties, except 'ti,ose payments made througRtL Fcderdl Buresu of Pnsons' Inmate ~lnancla?
Kesponsihlllty Program. are made t o x e clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



      Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and col~espondingpayee, if appropriate.




      The defendant shall pay the cost of prosecution.

      The defendant shall pay the following court cost@):

      The defendant shall forfeit the defendant's interest in the following property to the United States:




Payments shall be applled In thc following order ( I assessment, (2) restltutlon pnnclpal, (3) rebtlturlon interest, (4) fine pnnclpal,
                                                       1
( 5 ) tine intrrest, ( 6 )community rrbtltutlon, (7) pena lles, and (8) costs. lncludlng co$t of prosecut~ondnd court costs
